Case 2:11-cv-02481-SIL                      Document 99        Filed 06/25/20     Page 1 of 2 PageID #: 671

                                                                                                 FILED
                                                                                        u.s.i"safc®=&,"V,
                     AFFIDAVIT OF SERVICE:jun iw. *
                                                                                           BROOK^N OFFICE

STATE OF NEW YORK                        )
                                            ss:

COUNTY OF DUTCHESS )


   t, C                                                       being duly sworn deposes and says that: on the

 below indicated daWot notarization, I served a true copy of:
                                                   c-r-xii;




on the following parties:


                                                       St'^OC <4^


 i-hopD                       s h.)<sstA               11       g'
by placing said documents in a properly addressed envelope with postage prepaid and placing

said envelope in the prison mailbox located at Downstate Correctional Facility.


Dated:                   22          . 20 ZO                                    Respectfully Submitted,


Sworn to before me on this                                                       (}^\uui pi
<^day of                                 20<s?f>
Notary Public

            JUANITACARMICHAEL
         Notary Public, State of New York
               NO.01CA6122155
          Qualified in Dutchess County
     Commission Expires Feb.07,9(i^J
    Case 2:11-cv-02481-SIL      Document 99   Filed 06/25/20   Page 2 of 2 PageID #: 672




Hon. LaShann DeAcry Hall, U.S.D.J
United States District Court                                           Motion For Enlargement
Eastern District Of New York                                           Of Time To File

225 Cadman Plaza East                                                  Opposition
Brooklyn, New York 11201




Re: Johnson V. County Of Suffolk, et al




Dear, Judge DeArcy Hall,


  Plaintiff respectfully ask the court for an enlagement of time to file motion in
opposition, plaintiff needs a 7 day enlargement which will make the new deadline to
file opposition June,30,2020.


  Plaintiff is just waiting for his work pay so that he will be able to pay for the
postage delivery.




Dated: June,19,2020                                                     Respectfully,
                                                                       CHAD JOHNSON




                                                                       Phjui
